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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

STEPHEN JONES,                        )
                                      )
      Plaintiff,                      )
                                      )
   v.                                 )                     No. 4:18-cv-01161-JAR
                                      )
                                      )
SYNERGIES3 TEC SERVICES, LLC, et al., )
                                      )
      Defendants.                     )
                                      )
                                              ORDER

       In light of the parties’ stipulation of dismissal with prejudice (Doc. No. 50),

       IT IS HEREBY ORDERED that this matter is DISMISSED WITH PREJUDICE, with

each party to bear his or its own costs and fees.




                                                    JOHN A. ROSS
                                                    UNITED STATES DISTRICT JUDGE
Dated this 4th day of February, 2019.




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